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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
v.                                        )     No. S5-4:15 CR 404 HEA (NAB)
                                          )
ANTHONY JORDAN (3),                       )
                                          )
              Defendant.                  )

              UNITED STATES OF AMERICA’S NOTICE OF
         WITHDRAWAL OF INTENT TO SEEK THE DEATH PENALTY

       COMES NOW the United States of America and respectfully informs this Court

that the United States Attorney General has authorized and directed the United States

Attorney’s Office for the Eastern District of Missouri to withdraw its Notice of Intent to

Seek Death Penalty Pursuant to Title 18, United States Code, Section 3593 as to defendant

Anthony Jordan (Doc. # 1988). Accordingly, the United States hereby withdraws its

Notice of Intent to Seek Death Penalty (Id.).

                                                Respectfully submitted,

                                                SAYLER A. FLEMING
                                                United States Attorney

                                                /s/ Thomas Rea
                                                ERIN GRANGER. #53593MO
                                                THOMAS REA, #53245MO
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 28, 2022, the foregoing was
filed electronically with the Clerk of the Court to be served by operation of the Court’s
electronic filing system upon all parties and counsel of record.

                                                 /s/ Thomas Rea
                                                 THOMAS REA




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